 Name and address:
         Case 2:18-cv-02421-JFW-E Document 114 Filed 06/27/18 Page 1 of 1 Page ID #:2156
 Rebecca Girolamo
 WilmerHale
 350 South Grand Avenue, Suite 2100
 Los Angeles, CA 90071




                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                                          CASE NUMBER
Broidy Capital Management LLC , Elliott Broidy
                                                                                                 18-cv-2421-JFW
                                                          Plaintiff(s)
                                    v.
                                                                             ORDER ON APPLICATION OF NON-
State of Qatar, et al.
                                                                            RESIDENT ATTORNEY TO APPEAR
                                                       Defendant(s).           IN A SPECIFIC CASE PRO HAC VICE

  The Court, having determined whether the required fee has been paid, and having reviewed the
  Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  Levin, Hallie B.                                   of WilmerHale
  Applicant’s Name (Last Name, First Name & Middle Initial)                  7 World Trade Center
  212-295-6710                       212-230-8888                            250 Greenwich Street
  Telephone Number                       Fax Number                          New York, NY 10007
  Hallie.Levin@Wilmerhale.com
                            E‐Mail Address                                  Firm/Agency Name & Address

  for permission to appear and participate in this case on behalf of
  Global Risk Advisors, LLC
  Kevin Chalker

  Name(s) of Party(ies) Represented                                      Plaintiff(s)   Defendant(s)     Other:
  and designating as Local Counsel
  Rebecca A. Girolamo                                                    of WilmerHale
  Designee’s Name (Last Name, First Name & Middle Initial)                  350 South Grand Avenue, Suite 2100
       293422            213-443-5343        213-443-5400                   Los Angeles, CA 90071
  Designee’s Cal. Bar No.    Telephone Number         Fax Number
  rebecca.girolamo@wilmerhale.com
                       E‐Mail Address                                       Firm/Agency Name & Address

   HEREBY ORDERS THAT the Application be:
        GRANTED.




   Dated June 27, 2018
                                                                                 U.S. District Judge
  G–64 ORDER (5/16) () ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE    Page 1 of 1
